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                         UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

Steven VanValkenburg,           )
                                )           Case No. 1:10-cv-152
              Plaintiff,        )
                                )           Hon. Gordon J. Quist
          v.                    )
                                )
Diversified Adjustment Service, )
Incorporated, a Minnesota       )
corporation,                    )
                                )
              Defendant.        )
______________________________)

                                      Notice of Dismissal

       Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, plaintiff Steven

VanValkenburg, through his attorney of record, files this Notice of Dismissal, with defendant

having served neither an answer nor a motion for summary judgment.

       This action is dismissed with prejudice.

Dated: March 25, 2010                               /s/ Phillip C. Rogers
                                                    Phillip C. Rogers (P34356)
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